     Case 2:11-cr-00107-WFN    ECF No. 999    filed 06/20/12   PageID.3646 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,                 )
 6                                               )     NO. CR-11-107-WFN-10
                        Plaintiff,               )
 7                                               )     ORDER GRANTING MOTION TO
       v.                                        )     MODIFY RELEASE CONDITIONS
 8                                               )
       LUIS MIGUEL CERNA,                        )
 9                                               )
                        Defendant.               )
10                                               )

11          Before the court is Defendant’s Motion to Modify Release

12    Conditions.     (ECF No. 972.)         Based on the Motion to Modify, the

13    Declaration of Gina Costello and on information from the Pretrial

14    Services Officer, and based on the parties being in agreement, the

15    court finds that good cause exists to grant in part the Defendant’s

16    Motion.

17          IT IS ORDERED        that the Defendant’s Motion to Modify his

18    conditions of release to remove the electronic home monitoring (ECF

19    No. 972) is GRANTED.          Defendant shall no longer be subject to

20    electronic home monitoring.            However, the 9:00 p.m. to 5:00 a.m.

21    curfew shall remain.         All other conditions of release remain.

22          For urgent or emergency medical matters, if Defendant is needed

23    to assist his mother, he will be excused from his curfew.

24          IT IS SO ORDERED.

25          DATED June 20, 2012.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28


     ORDER GRANTING MOTION TO MODIFY RELEASE CONDITIONS - 1
